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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                  CASE NO. 17-CV-20608-JAL


 ARWIN NICOLAS ZAPATA CARRERO
 and all others similarly situated under
  29 U.S.C.216(B)

  vs

 SANABI INVESTMENTS LLC d/b/a
 OSCAR’S MOVING & STORAGE,
 SANDY BIJANI, HANIN PRIETO
 ___________________________________/

                  DEFENDANT’S NOTICE OF FILING REQUEST
                           FOR PRODUCTION

        Defendants, SANABI INVESTMENTS LLC, SANDY BIJANI and HANIN PRIETO
 by and through undersigned counsel and hereby files their Notice of Filing Request for
 Production of Plaintiff.
                                  CERTIFICATE OF SERVICE

 I HEREBY CERTIFY that on this 6th day of December, 2017 I electronically filed a copy
 of the foregoing document with the Clerk of the Court using CM/ECF. I also certify that
 the foregoing document is being served this day on all parties or counsel of record listed
 below in the manner specified, either via transmission of Notice of Electronic Filing
 generated by CM/ECF or in some other authorized manner for those counsel or parties
 who are not authorized to receive electronically Notices of Filing.

                                                                          Respectfully submitted,
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